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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MINNESOTA

St. Jude Medical, LLC and
Abbott Laboratories,
                                                        Case No. 16-cv-03002
                     Plaintiffs,                        (DWF/DTS)

vs.

Muddy Waters LLC, Muddy
Waters Capital LLC, Carson C. Block,
MedSec Holdings Ltd., MedSec LLC, Justine
Bone, and Dr. Hemal M. Nayak,

                     Defendants.


       STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiffs St. Jude Medical, LLC and

Abbott Laboratories, and Defendants Muddy Waters Capital LLC, Carson C. Block,

MedSec Holdings Ltd., MedSec LLC, Justine Bone, Dr. Hemal M. Nayak, and Muddy

Waters LLC (collectively, the “Parties”) hereby file this Stipulation of Voluntary

Dismissal with Prejudice. In accordance with Rule 41(a)(1)(A)(ii), this Stipulation is

agreed to and signed by counsel for all Parties that have appeared in this action. The

Parties intend for the dismissal to be with prejudice, with each Party to bear its own costs

and fees.


Dated: January 31, 2018
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Respectfully submitted,

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